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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
          ANDRE SIMS,
 8                                   Plaintiff,
                                                              C20-1230 TSZ
 9                v.
                                                              MINUTE ORDER
10        MIDLAND FUNDING LLC,
11                                   Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
            (1) Defendants’ Amended Second Unopposed Joint Motion for Extension of
14
   Time to Respond to the Complaint, docket no. 14, is GRANTED. The deadline for
   Defendants to file a responsive pleading or motion is EXTENDED to September 21,
15
   2020.
16          (2)        The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
17
            Dated this 15th day of September, 2020.
18

19                                                        William M. McCool
                                                          Clerk
20
                                                          s/Karen Dews
21                                                        Deputy Clerk

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     MINUTE ORDER - 1
